          Case 2:24-cv-01009-SPG-SK Document 30 Filed 04/09/24 Page 1 of 5 Page ID #:146
Name and address:
                    JONATHAN D. HACKER
                       jhacker@omm.com
                   O'MELVENY & MYERS LLP
                      1625 Eye Street, NW
                     Washington, DC 20006

                                              UNITED STATES DISTRICT COURT
                                             CENTRAL DISTRICT OF CALIFORNIA

                                                                           CASE NUMBER
GINA CARANO,
                                                         Plaintiff(s),                           2:24-cv-01009-SPG-SK

                 V.
THE WALT DISNEY COMPANY, LUCASFILM LTD. LLC, and                             APPLICATION OF NON-RESIDENT ATTORNEY
HUCKLEBERRY INDUSTRIES (US) INC.,                                                  TO APPEAR IN A SPECIFIC CASE
                                     Defendant(s),                                                PROHACVICE
INSTRUCTIONS FOR APPLICANTS
( 1) The attorney seeking to appear pro hac vice must complete Section I of this Application, the certification in Section II, and have the
    designated Local Counsel sign in Section III. Space to supplement responses is provided in Section IV. The applicant must also attach a
    Certificate of Good Standing (issued within the last 30 days) from every state bar to which he or she is admitted; failure to do so will be
    grounds for denying the Application. Scan the completed Application, together with any attachment(s), to a single Portable Document
    Format (PDF) file.
(2) Have the designated Local Counsel file the Application electronically using the Court's electronic filing system ("Motions and Related
    Filings => Applications/Ex Parte Applications/Motions/Petitions/Requests=> Appear Pro Hae Vice (G-64}'J, attach a Proposed Order
    (using Form G-64 ORDER, available from the Court's website), and pay the required $500 fee online at the time offiling (using a credit
    card). The fee is required for each case in which the applicant files an Application. Failure to pay the fee at the time offiling will be
    grounds for denying the Application. Out-of-state federal government attorneys are not required to pay the $500 fee. (Certain
    attorneys for the United States are also exempt from the requirement of applying for pro hac vice status. See L.R. 83-2.1.4.) A copy of the
    G-64 ORDER in Word or WordPerfect format must be emailed to the generic chambers email address. L.R. 5-4.4.2.
SECTION I - INFORMATION
Hacker, Jonathan D.
Applicant's Name (Last Name, First Name & Middle Initial)                                         check here iffederal government attorney □
O'Melveny & Myers LLP
Firm/Agency Name
1625 Eye Street, NW                                                      + 1 202 383 5300                      + 1 202 383 5414
                                                                         Telephone Number                      Fax Number
Street Address
Washington, DC 20006                                                                             jhacker@omm.com
City, State, Zip Code                                                                               E-mail Address

I have been retained to represent the following parties:
The Walt Disney Company                                                  D Plaintiff(s) [Kl Defendant(s) D Other: - - - - - - - - -
Lucasfilm Ltd. LLC, Huckleberry Industries (US) Inc.                     □ Plaintiff(s) [Kl Defendant(s) D Other:
                                                                                                                  ---------
Name(s) of Party(ies) Represented

List all state and federal courts (including appellate courts) to which the applicant has been admitted, and provide the current status of his or
her membership. Use Section IV if more room is needed, or to provide additional information.

                 Name of Court                           Date of Admission          Active Member in Good Standing? (if not, please explain)
Maryland                                                   12/17/1996              Active
District of Columbia                                        09/11/1998             Active
US Court of Appeals, Fourth Circuit                         07/30/1999             Active

G-64 (10/23)               APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE                               Page 1 of3
           Case 2:24-cv-01009-SPG-SK Document 30 Filed 04/09/24 Page 2 of 5 Page ID #:147
List all cases in which the applicant has applied to this Court for pro hac vice status in the previous three years (continue in Section IV if
needed):
       Case Number                                     Title of Action                            Date of Application       Granted I Denied?




If any pro hac vice applications submitted within the past three (3) years have been denied by the Court, please explain:




Attorneys must be registered for the Court's electronic filing system to practice pro hac vice in this Court. Submission
of this Application will constitute your registration (or re-registration) to use that system. If the Court signs an Order
granting your Application, visit www.pacer.gov to complete the registration process and activate your e-filing
privileges in the Central District of California.

           SECTION II - CERTIFICATION

           I declare under penalty of perjury that:

           (1) All of the above information is true and correct.
           (2) I am not a resident of the State of California. I am not regularly employed in, or engaged in
               substantial business, professional, or other activities in the State of California.
           (3) I am not currently suspended from and have never been disbarred from practice in any court.
           (4) I am familiar with the Court's Local Civil and Criminal Rules, the Federal Rules of Civil and
               Criminal Procedure, and the Federal Rules of Evidence.
           (5) I designate the attorney listed in Section III below, who is a member in good standing of the Bar
               of this Court and maintains an office in the Central District of California for the practice oflaw, in
               which the attorney is physically present on a regular basis to conduct business, as local counsel
               pursuant to Local Rule 83-2.1.3.4.

               Dated April 9, 2024                                       Jonathan D. Hacker
                                                                         Applicant's Name (please type or print)




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SECTION III - DESIGNATION OF LOCAL COUNSEL
Petrocelli, Daniel M.
Designee's Name (Last Name, First Name & Middle Initial)
O'Melveny & Myers LLP
Firm/Agency Name

 1999 Avenue of the Stars                                          +l 310 553 6700                          +l 310 246 6779
8th Floor                                                          Telephone Number                         Fax Number

Street Address                                                     dpetrocelli@omm.com
Los Angeles, California 90067-6035                                Email Address

City, State, Zip Code                                              97802
                                                                  Designee's California State Bar Number


I hereby consent to the foregoing designation as local counsel, and declare under penalty of perjury that I maintain an office in the
Central District of California for the practice of law, in which I am physically present on a regular basis to conduct business.

               Dated 0410912024                                    Isl Daniel M. Petrocelli
                                                                   Designee's Name (please type or print)


                                                                  -     -=
                                                                  Designee's Signature
                                                                                                        --
SECTION IV - SUPPLEMENT ANSWERS HERE (ATTACH ADDITIONAL PAGES IF NECESSARY)

  Additional Court Admissions
  US Court of Appeals, Seventh Circuit - 0212412000 - Active
  US Supreme Court - 0512612001 -Active
  US District Court, District of Columbia - 0910912002 - Active
  US Court of Appeals, Tenth Circuit - 03/24/2003 - Active
  US Court of Appeals, Federal Circuit - 11/2612003 - Active
  US Court of Appeals, District of Columbia - 1210512003 - Active
  US Court of Appeals, Sixth Circuit - 0312512005 - Active
  US Court of Appeals, Ninth Circuit - 0710712005 - Active
  US Court of Appeals, Fifth Circuit - 911112007 - Active
  US Court of Appeals, Third Circuit - 0611012010 - Active
  US Court of Appeals, Second Circuit - 0211512012 - Active
  US Court of Appeals, Eighth Circuit - 01/0312013 - Active
  US Court of Appeals, Eleventh Circuit - 0410712013 - Active
  US Court of Appeals, First Circuit - 0412212015 - Active




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                 Supreme Court of Maryland
                                  Annapolis, MD




                 CERTIFICATE OF GOOD STANDING

STATE OF MARYLAND, ss:
      I, Gregory Hilton, Clerk of the Supreme Court of Maryland, do hereby
certify that on the seventeenth day of December, 1996,

                             Jonathan David Hacker

having first taken and subscribed the oath prescribed by the Constitution and Laws
of this State, was admitted as an attorney of said Court, is now in good standing,
and as such is entitled to practice law in any of the Courts of said State, subject to
the Rules of Court. This certificate of good standing is valid through the
seventh day of June, 2024.


                                        In Testimony Whereof, I have hereunto
                                        set my hand as Clerk, and affixed the Seal
                                        of the Supreme Court of Maryland, this
                                        eighth day of April, 2024.




                                                 Clerk of the Supreme Court of Maryland
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             On behalf of JULIO A. CASTILLO, Clerk of the District of Columbia Court of Appeals,
                             the District of Columbia Bar does hereby certify that



                                Jonathan D Hacker
         was duly qualified and admitted on September 11, 1998 as an attorney and counselor entitled to
           practice before this Court; and is, on the date indicated below, an Active member in good
                                               standing of this Bar.




                                                                                 In Testimony Whereof,
                                                                             I have hereunto subscribed my
                                                                            name and affixed the seal of this
                                                                                   Court at the City of
                                                                           Washington, D.C., on April 08, 2024.




                                                                                  JULIO A. CASTILLO
                                                                                   Clerk of the Court




                                                              Issued By:


                                                                               David Chu - Director, Membership
                                                                              District of Columbia Bar Membership




      For questions or concerns, please contact the D.C. Bar Membership Office at 202-626-3475 or email
                                          memberservices@dcbar.org.
